     Case 2:20-cv-03586-TJH-SP Document 20 Filed 08/24/20 Page 1 of 3 Page ID #:139



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13 John Doe subscriber assigned IP
   Address 108.245.73.214
14

15
                          UNITED STATES DISTRICT COURT
16
                        CENTRAL DISTRICT OF CALIFORNIA
17
                        WESTERN DIVISION – LOS ANGELES
18

19

20 STRIKE 3 HOLDINGS, LLC,                         Case Number: 2:20-cv-03586-TJH-SP
21                       Plaintiff,                Honorable Terry J. Hatter, Jr
22 vs.                                             JOINT STIPULATION FOR
                                                   DISMISSAL WITH PREJUDICE
23 JOHN DOE subscriber assigned IP
      address 108.245.73.214,
24
                         Defendant.
25

26
            Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Strike
27
      3 Holdings, LLC and Defendant John Doe subscriber assigned IP address
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                                               1

                        Joint Stipulation for Dismissal with Prejudice
                              Case No. 2:20-cv-03586-TJH-SP
     Case 2:20-cv-03586-TJH-SP Document 20 Filed 08/24/20 Page 2 of 3 Page ID #:140



 1
      108.245.73.214 hereby stipulate to dismissal of the above-captioned action with
 2
      prejudice, including Defendant’s counterclaims for declaratory judgment of non-
 3
      infringement [Dkt. No. 18], with each party to bear its own costs, expenses, and
 4
      attorneys’ fees.
 5

 6
      Dated: August 24, 2020                Respectfully submitted,
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 8
                                            By: /s/ Lincoln D. Bandlow
 9                                          Lincoln D. Bandlow, Esq.
                                            Law Offices of Lincoln Bandlow, PC
10                                          Attorney for Plaintiff
11

12 Dated: August 24, 2020                   Respectfully submitted,
13
                                            By: _/s/ J. Curtis Edmondson____
14                                          J. Curtis Edmondson, Esq.
                                            Edmondson IP Law
15                                          Attorney for Defendant
16

17

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19
                               STATEMENT OF CONSENT
20
            I attest that consent to the filing of this document has been obtained from
21
      counsel for Defendant John Doe subscriber assigned IP address 108.245.73.214.
22

23 Dated: August 24, 2020                   By: /s/ J. Curtis Edmondson
                                            J. Curtis Edmondson, Esq.
24                                          Attorney for Defendant
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                         Joint Stipulation for Dismissal with Prejudice
                               Case No. 2:20-cv-03586-TJH-SP
     Case 2:20-cv-03586-TJH-SP Document 20 Filed 08/24/20 Page 3 of 3 Page ID #:141



 1
                              CERTIFICATE OF SERVICE
 2

 3          I hereby certify that on August 24, 2020 I electronically filed the forgoing
 4 document with the Clerk of the Court using CM/ECF and that service was

 5 perfected on all counsel of record and interested parties through this system.

 6
                                              By: /s/ Marina Bandlow
 7
                                              Marina Bandlow
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                        Joint Stipulation for Dismissal with Prejudice
                              Case No. 2:20-cv-03586-TJH-SP
